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                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION

KEITH ROSE,                                   )
                                              )
                       Plaintiff,             )       No. 4:22-CV-00099 JMB
                                              )
v.                                            )
                                              )
ROBERT SCHULTE,                               )
                                              )
                       Defendant.             )


                        CONSENT MOTION FOR EXTENSION OF TIME

         Plaintiff respectfully requests a 60-day extension of the joinder and amendments deadline

from August 15, 2022 to October 14, 2022. In support, Plaintiff states:

            1. Under the Case Management Order in this case, the deadline for joinder and

                amendments to the pleadings is August 15, 2022. (See ECF No. 20.)

            2. On July 6 and July 12, 2022, counsel for Plaintiff contacted then-counsel for

                Defendant to schedule Defendant’s deposition for July or August 2022.

            3. Later on July 12, 2022, current counsel for Defendant substituted his appearance

                for previous counsel.

            4. Current defense counsel is a Commander in the Army Reserves and has training

                requirements that prevent him from being available to defend Defendant’s

                deposition during the period proposed by Plaintiff.

            5. Defense counsel has suggested that a September deposition would be acceptable.

            6. Plaintiff believes a deposition of Defendant Robert Schulte is required for

                Plaintiff to assess whether joinder or amendments may be necessary.

            7. As such, Plaintiff respectfully requests a 60-day extension of the joinder and


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              amendments deadline from August 15, 2022 to October 14, 2022.

          8. The proposed extension of time will not affect any other pending deadlines in the

              case, will not prejudice Defendant, and is not made for any improper purpose.

          9. Defendant consents to this request.

WHEREFORE Plaintiff requests an extension of the joinder and amendments deadline until

October 14, 2022.

                                           Respectfully submitted,

                                           /s/ Jessie Steffan
                                           Jessie Steffan, #64861MO
                                           ACLU of Missouri Foundation
                                           906 Olive Street, Suite 1130
                                           St. Louis, Missouri 63101
                                           Phone: (314) 652-3114
                                           Fax: (314) 652-3112
                                           jsteffan@aclu-mo.org

                                           Attorney for Plaintiff




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